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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8                           IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           )                No. 1:15-cr-00046 LJO-SKO-1
                                         )
12               Plaintiff,              )                STIPULATION TO CONTINUE
                                         )                SURRENDER DATE;
13         v.                            )                ORDER; ATTACHMENTS
                                         )
14   CHRISTINA ANTONIA MARTINEZ,         )
                                         )
15               Defendant.              )                JUDGE: Hon. Lawrence J. O’Neill
     ____________________________________)
16
17
18          IT IS HEREBY STIPULATED by and between the parties through their respective

19   counsel, Assistant United States Attorney, Kathleen A. Servatius, Counsel for Plaintiff, and

20   Assistant Federal Defender, Eric V. Kersten, Counsel for Defendant, Christina Antonia Martinez,

21   that the self-surrender date for service of sentence may be continued from Tuesday, January 7,

22   2020 to Tuesday, April 28, 2020.

23          Christina Martinez is pregnant with a December 25, 2019 due date. For this reason, the

24   court set a January 7, 2020 surrender date at the time of sentencing, but stated the date would be

25   extend if adequate justification was provided.

26          The attached letter from Dr. Silvia Diego, Christina’s obstetrician, states Christina will

27   need eight weeks to recover from the effects of her third caesarian section delivery; but Dr.

28
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 1   Diego recommends twelve months to allow time for breastfeeding and bonding between

 2   Christina and her baby. Dr. Diego is a graduate of Stanford Medical School and currently serves

 3   as president of the Stanislaus Medical Society. She holds membership at the American Academy

 4   of Family Physicians and Stanford Medical School Alumni Association and serves as a board

 5   member of Doctor’s Medical Center Hospital, Latino Physicians of California, and Foundation

 6   for Health Professions. She also served on the Medical Board of California through 2014.

 7             The attached American Academy of Pediatrics (AAP) article provides a detailed review

 8   of the benefits of breastfeeding. The AAP recommends exclusive breastfeeding for 6 months,

 9   with a continuation of breastfeeding for one year or longer. As noted in the article, the World

10   Health Organization (WHO), and the Institute of Medicine concur with the recommendation for

11   exclusive breastfeeding for six months, with a continuation of breastfeeding for one year or

12   longer.

13             Also, despite the court’s FCI Dublin Recommendation, the BOP has designated Ms.

14   Martinez to a facility in Texas. This designation will greatly complicate visits between Christina

15   and her baby during the term of incarceration, especially given that the baby’s father is a

16   longtime PG&E employee who often works more than 40 hours per week.

17             While a one year extension of the self-surrender date may be excessive, the parties

18   believe an extension to April 28, 2020, four full months after the anticipated delivery date, is a

19   reasonable compromise given Dr. Diego’s recommendation and the cited authorities.

20
21                                                              Respectfully submitted,

22                                                              McGREGOR W. SCOTT
                                                                United States Attorney
23
24   DATED: September 3, 2019                                   /s/ Kathleen A. Servatius
                                                                KATHLEEN A. SERVATIUS
25                                                              Assistant United States Attorney
                                                                Attorney for Plaintiff
26   ///

27   ///

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      Martinez: Stipulation to Continue Surrender Date;   -2-
      Attachments
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 1                                                               HEATHER E. WILLIAMS
                                                                 Federal Defender
 2
 3   DATED: September 3, 2019                                    /s/ Eric V. Kersten
                                                                 ERIC V. KERSTEN
 4                                                               Assistant Federal Defender
                                                                 Attorney for Defendant
 5                                                               CHRISTINA ANTONIA MARTINEZ

 6
 7
 8
 9                                                        ORDER

10           Having been sentenced to the custody of the Bureau of Prisons, Defendant Christina

11   Antonia Martinez, shall surrender to the institution designated by the Bureau of Prisons, or if no

12   such institution has been designated, to the United States Marshal’s office in Fresno, California

13   before 2:00 p.m. on April 28, 2020. The defendant is advised it is a criminal offense punishable

14   by a consecutive term of imprisonment to fail to surrender for service of sentence pursuant to the

15   order of this Court. All conditions of pretrial release shall remain in effect until the defendant

16   surrenders in accordance with this Order.

17
     IT IS SO ORDERED.
18
         Dated:       September 11, 2019                          /s/ Lawrence J. O’Neill _____
19
                                                          UNITED STATES CHIEF DISTRICT JUDGE
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      Martinez: Stipulation to Continue Surrender Date;    -3-
      Attachments
